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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                  CASE NO.: 21-CR-703-RDM


UNITED STATES OF AMERICA,

       Plaintiff,
v.

JULIO CESAR CHANG,

      Defendant.
_______________________________/

                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the Defendant, Julio Cesar Chang, by and through undersigned

counsel, now submit this Joint Status Report, ordered by the Court after the last status report on

November 1, 2022.

1.     Since the last conference, there has been additional production of global discovery.

2.     Although the Government has not produced any case-specific additional discovery since

       the last status report on October 31, 2022, undersigned counsel still needs additional time

       to finish reviewing discovery (which consists of 30,000 files consisting of body worn

       cameras and handheld footage from five law enforcement agencies as well as

       surveillance-camera footage from three law enforcement agencies and over 3.49 million

       files).

3.     The Government and undersigned counsel have engaged in several discussions regarding

       a plea in this matter and will continue to confer for a possible resolution.

4.     Given the amount of discovery produced in this case and need to finalize plea

       negotiations, the parties ask for an additional 30 days to work towards a resolution in this

       matter.
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5.      The parties agree that due to outstanding discovery and ongoing plea negotiations, the

        ends of justice would be served by the exclusion of time under The Speedy Trial Act

        from today until the next filing is due before this Court. Mr. Chang waives his rights

        under The Speedy Trial Act and agrees to the exclusion of time for the period from

        today’s status report through the next date set by the Court.

        WHEREFORE, the parties ask for leave to submit another joint status report on March 3,

2023. If the parties have reached a decision regarding disposition of this matter, the parties will

file prior to this date.

Dated: January 31, 2023.                              Respectfully submitted,

                                                      By: /s/ Joseph S. Rosenbaum
                                                      Joseph S. Rosenbaum, Esq.
                                                      Florida Bar No. 240206

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